          Case 2:06-cr-00192-JCC          Document 17       Filed 05/25/06     Page 1 of 2



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05
                              UNITED STATES DISTRICT COURT
06                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
07

08 UNITED STATES OF AMERICA,              )
                                          )
09               Plaintiff,               )           Case No. 06-199M
                                          )
10         v.                             )
                                          )           DETENTION ORDER
11   RAFAEL DIAZ-LAUREANO                 )
                                          )
12               Defendant.               )
     ____________________________________ )
13

14 Offenses charged:

15          Conspiracy to Commit Bank Fraud in violation of 18 U.S.C. §§ 1344 and 2.

16 Date of Detention Hearing:     May 25, 2006.

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth,

19 finds the following:

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          (1)    Defendant has no ties to this community or to the Western District of

22 Washington.

23          (2)    Defendant is charged with being part of a conspiracy traveling to many

24 different cities to perpetrate bank fraud. As such, he has transient contacts with Los Angeles,

25 his claimed home.

26          (3)    Defendant was on probation for an offense of a similar nature when the instant


     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
     PAGE 1
          Case 2:06-cr-00192-JCC          Document 17       Filed 05/25/06      Page 2 of 2



01 alleged offense was committed.

02          (4)    Defendant has been unemployed since 1999 and has little reason to stay in one

03 location.

04          (5)    Defendant has mental-health disorders.

05          (6)    There appear to be no conditions or combination of conditions other than

06 detention that will reasonably address the economic danger to other persons or to the

07 community, and the risk of flight.

08          IT IS THEREFORE ORDERED:

09          (1)    Defendant shall be detained pending trial and committed to the custody of the

10                 Attorney General for confinement in a correction facility separate, to the

11                 extent practicable, from persons awaiting or serving sentences or being held in

12                 custody pending appeal;

13          (2)    Defendant shall be afforded reasonable opportunity for private consultation

14                 with counsel;

15          (3)    On order of a court of the United States or on request of an attorney for the

16                 government, the person in charge of the corrections facility in which

17                 defendant is confined shall deliver the defendant to a United States Marshal

18                 for the purpose of an appearance in connection with a court proceeding; and

19          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

20                 counsel for the defendant, to the United States Marshal, and to the United

21                 States Pretrial Services Officer.



                                                         A
22                 DATED this 26th day of May, 2006.

23
                                                         JAMES P. DONOHUE
24                                                       United States Magistrate Judge
25

26


     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 2
